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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4     NATHSON E. FIELDS,            )
                                    )
5                       Plaintiff, )             Docket No. 10 C 1168
                                    )
6                  vs.              )
                                    )
7     CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                    )            June 11, 2012
8                       Defendants. )            9:30 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
      APPEARANCES:
12
13    For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                        BY: MS. H. CANDACE GORMAN
14                                      220 South Halsted Street
                                        Suite 200
15                                      Chicago, Illinois 60661
16
17    For the Defendant:           DYKEMA GOSSETT PLLC
                                        BY: MR. DANIEL M. NOLAND
18                                      10 South Wacker Drive
                                        Suite 2300
19                                      Chicago, Illinois 60606
20
                                   COOK COUNTY STATE'S ATTORNEY
21                                      BY: MR. STEPHEN L. GARCIA
                                        500 Richard J. Daley Center
22                                      Chicago, Illinois
23
24                LAURA M. BRENNAN - Official Court Reporter
                     219 South Dearborn Street - Room 2102
25                          Chicago, Illinois 60604
                                (847) 373-5598
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1          (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                THE COURT: Good morning.
4                MS. GORMAN: Good morning, your Honor; Candace Gorman
5     for Nathson Fields.
6                MR. NOLAND: Good morning, your Honor; Dan Noland for
7     the City defendants.
8                MR. GARCIA: Good morning, your Honor; Stephen Garcia
9     for defendants Wharrie and Kelley.
10               THE COURT: Okay. So did you make any progress on
11    the --
12               There was a motion that I think I continued over
13    hoping that you were going to be able to try to work it out.
14               MS. GORMAN: Yes, I filed a status report. I guess
15    you haven't seen it.
16               THE COURT: I was on trial last week. It got lost in
17    the shuffle, but give me the executive summary.
18               MS. GORMAN: Okay. We talked about a stipulation
19    before we entered into the actual stipulation regarding the
20    motion. I wanted to go back to 51st and Wentworth where the
21    file has -- they think it has been held for all these years.
22               THE COURT: Okay.
23               MS. GORMAN: And that's set for tomorrow. So I was
24    asking for it to be entered and continued.
25               THE COURT: Oh, just to enter and continue. It's a
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1     motion for rule to show cause and to enter and continue it.
2     But you're working towards a solution basically is what it
3     sounds like.
4                MS. GORMAN: Yes.
5                THE COURT: Okay, fine. So the motion for rule to
6     show cause is entered and continued until whatever the next
7     status date is.
8                So here was my other question. As I was looking
9     through this this morning, you know, there were the comments
10    that the Court of Appeals made about whether I should keep the
11    state law claims against the people who are immune on the
12    federal law claims. And I know we talked about that at one
13    point, but I think when we talked about it, you were still in
14    the process of seeking rehearing, and that's -- I think I saw
15    something that that was denied.
16               MS. GORMAN: Right.
17               MR. GARCIA: Judge, it just came down.
18               THE COURT: Should I be dealing with that?
19               MS. GORMAN: Yes. It's fully briefed.
20               THE COURT: It is fully briefed.
21               MS. GORMAN: The jurisdiction issue.
22               THE COURT: Because I know I got some stuff, and I
23    just didn't know if anybody wanted to file anything else on
24    it.
25               Okay. So I've got it right here. I will pull it out
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1     and I will get to it in pretty short order, I think.
2                Does it --
3                If I'm remembering right, it's either one or two
4     people who either are or aren't defendants in this case
5     depending upon what I do with that issue, right, and it's both
6     your people?
7                MR. GARCIA: That's right.
8                THE COURT: It's Mr. Wharrie and the other one.
9                MR. GARCIA: Kelley.
10               THE COURT: Kelley, okay, all right.
11               MS. GORMAN: The other issue, your Honor, there is a
12    Seventh Circuit opinion that came out last week, Whitlock v.
13    Brueggemann, which actually narrows the holding in Buckley IV,
14    which was a decision --
15               THE COURT: Which Buckley is Buckley IV?
16               MS. GORMAN: Buckley IV is the one that --
17               I have to say Leonard Goodman has been the one to
18    deal with the immunity issues.
19               THE COURT: Yes.
20               MS. GORMAN: But you threw out the claims for the
21    defendant.
22               THE COURT: Whitlock is the guy in the Steidl case
23    from down in central Illinois.
24               MS. GORMAN: Right.
25               THE COURT: Yes.
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1                MS. GORMAN: They kept the state's attorneys in and
2     narrowed Buckley IV in that case, and we're just reviewing it
3     right now to see if we want to have you revisit your decision.
4     And if we're going to file something, we're going to file it
5     in the next two weeks.
6                THE COURT: All right.
7                MR. GARCIA: I'm not sure you can revisit your
8     decision, Judge, because we have had a Seventh Circuit
9     decision in our case now. If anyone would revisit it, it
10    would be the Seventh Circuit.
11               THE COURT: Yes, but --
12               MR. GARCIA: They just issued their opinion.
13               MS. GORMAN: It wasn't appealed. We didn't appeal
14    it.
15               THE COURT: Yes. So the question would be how you
16    would tee that up. Well, you know I will worry about it when
17    I have to worry about it.
18               So what else besides that do we need to talk about
19    this morning?
20               MS. GORMAN: Um --
21               THE COURT: Anything anybody can think of?
22               MS. GORMAN: Well, the other issue that I raised in
23    my status report is this issue that we talked about last time,
24    which is some of the defendants contacting potential
25    witnesses.
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1                THE COURT: I'm looking at the status report. Is
2     this the, quote, unquote, other issue of importance?
3                MS. GORMAN: Correct.
4                THE COURT: Okay. Give me just a second to look that
5     that.
6                MR. GARCIA: May I ask when that was filed?
7                THE COURT: This is the one that was dated the 8th.
8     It was filed on Friday.
9                MR. GARCIA: Okay. I haven't seen it, but I'm having
10    trouble with office emails.
11               MS. GORMAN: Okay. Yes, it was filed Friday
12    afternoon.
13               THE COURT: Do you have trouble with office email,
14    too?
15               MR. GARCIA: Half.
16               THE COURT: It's --
17               MR. GARCIA: -- access and a bunch of people --
18               THE COURT: It's a hazard of working for government.
19               MR. GARCIA: I'm almost accustomed to that.
20               THE COURT: Give me just a second to read this
21    paragraph here.
22               (Brief interruption.)
23               THE COURT: Okay. I guess the issue that you're
24    putting on the table is the extent to which the two of the
25    Chicago police officer defendants are, we'll just say,
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1     assisting in the investigation of the case, which I've made
2     some comments about before.
3                MS. GORMAN: Correct.
4                THE COURT: So what are you asking me to do at this
5     point? I don't see a real request: Judge, do this or, Judge,
6     do that.
7                MR. NOLAND: Nor do I see any specific of who she is
8     talking about. She hasn't said who is making these
9     complaints. They are simply allegations thrown out there,
10    kind of like just anonymous essentially and throwing it before
11    the Court. I think it's improper to include that.
12               THE COURT: Well, let me find out what Ms. Gorman is
13    asking me to do first, and I then I will talk about --
14               MS. GORMAN: Your Honor, I would like an admonition
15    to the defendants that these defendants should stop
16    contacting potential --
17               THE COURT: So you think that when I told Mr. Noland
18    that I thought it was an incredibly stupid idea or whatever
19    word it was I used the last time, that that wasn't quite good
20    enough?
21               MS. GORMAN: Well, I've asked him if they have
22    stopped, and he won't tell me.
23               THE COURT: Okay. So I think in order for me to do
24    anything on this, if you want me to take another step beyond
25    what I have already said, I think you are going to have to
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1     file something. And, I mean, I will leave it to you about
2     whether you want to ask for leave to file it under seal or
3     whatever, but give me some more specifics.
4                I know the original thing had some specifics as to
5     one person, if I recall correctly, but I may not be recalling
6     it correctly. It was two?
7                MS. GORMAN: It was two people.
8                THE COURT: Okay. I don't know if you're saying
9     there's others beyond those two. You are or not?
10               MS. GORMAN: No.
11               THE COURT: Okay.
12               MS. GORMAN: I don't know of any others.
13               THE COURT: Okay.
14               MS. GORMAN: That's the problem.
15               THE COURT: So it's the same two people.
16               MR. NOLAND: There have been no specifics as to who
17    allegedly is supplying the plaintiffs with information making
18    these accusations from anonymous sources that the plaintiffs
19    have put before the Court.
20               So if perhaps Ms. Gorman --
21               THE COURT: When it says in here, "plaintiff's
22    counsel has spoken with potential witnesses who were contacted
23    by the name defendants," I mean, that's a pretty decent idea
24    of who told plaintiff's counsel.
25               MR. NOLAND: Who are the potential witnesses, if she
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1     would like to state right now who those are.
2                THE COURT: I'm blanking. It's been long enough ago
3     that I don't remember whether you named the people in the
4     other --
5                MS. GORMAN: I did not, your Honor.
6                THE COURT: You did not, okay.
7                So I think what you're going to need to do, if you
8     want me to do anything more than what I've already done, is
9     file some sort of a motion. Again, I will leave it up to you
10    whether to ask permission to file it under seal or not, giving
11    me some specifics and saying, okay, this is what we think
12    happened, this is what we want you to do.
13               MS. GORMAN: Thank you.
14               THE COURT: And then I will give Mr. Noland a chance
15    to respond to it and kind of take it from there.
16               So I'm going to give you a status date in about, oh,
17    six weeks. So let's say the latter part --
18               Can you come in on the 25th -- the 24th of July at
19    9:30? Does that work okay?
20               MR. NOLAND: Which day is that?
21               THE COURT: It's a Tuesday.
22               MR. NOLAND: Yes.
23               THE COURT: The 24th of July at 9:30. I will see you
24    then.
25               MR. NOLAND: Thanks, Judge.
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1                MS. GORMAN: Thank you.
2         (Which were all the proceedings had in the above-entitled
3    cause on the day and date aforesaid.)
4
5
6                               C E R T I F I C A T E
7
8              I hereby certify that the foregoing is a true and
9    correct transcript of the above-entitled matter.
10
11
12   /s/ Laura M. Brennan                                  November 7, 2017
13
14
     Laura M. Brennan
15   Official Court Reporter                                       Date
     Northern District of Illinois
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